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           14                       UNITED STATES DISTRICT COURT
           15             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  MEMORANDUM IN SUPPORT OF
           18       a Delaware corporation,                       APPLE’S MOTION TO STRIKE
                                                                  PLAINTIFFS’ UNTIMELY
           19                          Plaintiffs,                REASONABLE ROYALTY THEORY
           20             v.
                                                                  Date: December 12, 2022
           21       APPLE INC.,                                   Time: 1:30pm
                    a California corporation,                     Expert Discovery Cut-Off: Dec. 12, 2022
           22                                                     Pre-Trial Conference: Mar. 13, 2023
                                       Defendant.
           23                                                     Trial: Mar. 27, 2023
           24
                                           REDACTED VERSION OF
           25                     DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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             1                                       I.       INTRODUCTION
             2               Apple respectfully asks this Court to strike the portions of Plaintiffs’ damages
             3      expert report that rely on Plaintiffs’ agreements with                                     in
             4      calculating a reasonable royalty.1
             5               Since this case was filed nearly three years ago, Plaintiffs have asserted that they
             6      intend to seek a reasonable royalty as a remedy for Apple’s purported misappropriation.
             7      Plaintiffs’ Initial Disclosures provide no insight into how that reasonable royalty would
             8      be calculated; instead, they direct Apple to Plaintiffs’ response to Apple’s Interrogatory
             9      No. 17.       Ex. 1.   Plaintiffs’ response to Interrogatory No. 17—which Plaintiffs
           10       supplemented seven times, most recently in September 2022—
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           15                When Plaintiffs’ damages expert’s report was served last month, however, it
           16       revealed a reasonable royalty theory based on
           17                                             ) absent from Plaintiffs’ interrogatory response. E.g.,
           18       Ex. 2 at ¶¶ 210-215. Furthermore, the expert concluded that of all of Plaintiffs’ license
           19       agreements that he considered—including those Plaintiffs did identify in their
           20       interrogatory response—
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           26         The parties have agreed that this motion should be heard by this Court in the first
                    instance, particularly in light of the Special Master’s recommendation to that effect
           27       regarding a similar motion to strike. See Dkt. 947. The Special Master confirmed via
                    email that this approach is consistent with his understanding of the division of
           28       authority between this Court and the Special Master. Passamaneck Decl. ¶ 4.

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             3               Plaintiffs’ strategic decision to unveil the centerpiece of their reasonable royalty
             4      theory in an expert report violates FRCP 26(e)’s duty to timely supplement interrogatory
             5      responses.     Plaintiffs’ professed rationalization is that an early iteration of their
             6      interrogatory response made the generic statement that Plaintiffs “
             7                                                                 to establish a reasonable royalty,
             8      and        was mentioned in a few depositions (though not the specific agreements now
             9      relied upon). See Ex. 3 (emphasis added). That tentative language in the response and
           10       those fleeting references in the depositions in no way put Apple on notice that Plaintiffs
           11       intended to stake their multi-billion-dollar royalty case                                  —
           12       particularly given that the Special Master found that same interrogatory response
           13       deficient almost a year ago and ordered Plaintiffs to supplement it. Dkt. 617 at 5-6.
           14                Plaintiffs cannot meet their burden to show that this clear violation of Federal
           15       26(e) was substantially justified or harmless. They have provided no explanation for
           16       why they did not include the                      in their interrogatory response, alongside
           17       several other specifically-named licenses. Nor can Plaintiffs establish that their failure
           18       to disclose                             was harmless. Had Plaintiffs at least identified
           19                          as relevant in March 2022 (i.e., at the same time as they identified the
           20       other purportedly comparable licenses), Apple could have sought discovery from both
           21       Plaintiffs          regarding the agreements and the products, code, and sales implicated
           22       by them. As it is, Apple must file a rebuttal expert report and prepare for trial with
           23       virtually no knowledge regarding those purportedly pivotal agreements.
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             1            Plaintiffs should not be permitted to prosecute their case by “surprise and …
             2      ambush.” Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843, 861-864 (9th Cir.
             3      2014). Under the circumstances, the only adequate remedy for Plaintiffs’ unjustifiable
             4      delay is to strike the passages of the damages expert’s report that rely on the
             5                    and bar the expert from testifying on the subject at trial.
             6                                        II.    BACKGROUND
             7            A.      Plaintiffs’ Initial Disclosures And Initial Responses to Apple’s
             8                    Damages Interrogatory Provide No Detail On Their Reasonable
             9                    Royalty Theory
           10             On April 14, 2020, Apple served Plaintiffs with Interrogatory No. 17, which seeks
           11       “all factual and legal bases for [Plaintiffs’] contention that [y]ou are entitled to any relief
           12       in this case, including but not limited to, monetary damages.” Ex. 1 at 7. Interrogatory
           13       No. 17 also asked Plaintiffs to “identify[] and describ[e] in detail all [d]ocuments and
           14       [c]ommunications relating to such contention and identifying all individuals having
           15       information about such contention.” Id.
           16             Plaintiffs’ initial response, served in May 2020, merely provided a laundry list of
           17       possible remedies for Apple’s purported misappropriation. Ex. 1 at 8 (“Plaintiffs seek
           18       restitution, disgorgement, lost profits, price erosion, and/or reasonable royalties,
           19       compensatory damages, punitive damages, and/or exemplary damages.” (emphasis
           20       added)). Plaintiffs’ initial damages disclosure provided no more detail—it simply listed
           21       “reasonable royalties” as one among many forms of damages Plaintiffs might seek. See
           22       Ex. 4 at 6.
           23             In August 2020, Plaintiffs supplemented their response to Interrogatory No. 17 to
           24       disclose that (1) Plaintiffs
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             4                                           Despite this assurance, Plaintiffs provided no further
             5      information on their reasonable royalty theory—or any other damages theory—for
             6      nearly a year-and-half.3
             7               B.    Following An Order From The Special Master, Plaintiffs Identify
             8                     Several Licenses On Which They Intend To Rely As Support For
             9                     Their Reasonable Royalty Theory
           10                In December 2021, Apple moved to compel Plaintiffs to provide a meaningful
           11       articulation of the specific basis and amount of their damages claims, including the
           12       underlying facts and documents on which they relied. Apple’s motion highlighted that
           13       Plaintiffs had, among other things, failed to provide even basic information regarding
           14       their reasonable royalty theory. See Ex. 5 at 2 (arguing Plaintiffs should have provided
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           16       id. at 4 (arguing Plaintiffs should have provided
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           18                                                                 The Special Master agreed with
           19       Apple that Plaintiffs’ existing responses were deficient, noting in February 2022 that
           20       Plaintiffs “ha[ve] not provided any information yet on whether ‘this is a $1
           21       case or a case worth billions.’” See Dkt. 617 at 5-6.
           22                Following the Special Master’s ruling, Plaintiffs amended their initial damages
           23       disclosure, but did not provide any more detail on their reasonable royalty theory. Ex.
           24       6. Plaintiffs also supplemented their response to Interrogatory No. 17 to provide a brief
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                        Plaintiffs supplemented their interrogatory response in April 2021, but only to add
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           15       Id. The supplemental response did not, however, discuss the                  .
           16             Plaintiffs served another supplemental response to Interrogatory No. 17 on April
           17       2022, which clarified and elaborated on the information above—i.e., that Plaintiffs had
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           23                                                                                             .
           24             Plaintiffs served further supplemental responses in July, August, and September
           25       2022. Ex. 1 at 22-32. Not one of those supplements identified any further information
           26       on Plaintiffs’ reasonable royalty theory or identified any new licensing
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             1   agreements/discussions that Plaintiffs believed were relevant to their damages
             2   contentions.
             3         C.       Plaintiffs’ Damages Expert Relies On The Previously Undisclosed
             4                              To Conclude That Apple Owes Up                      In
             5                  Royalties
             6         In October 2022, Plaintiffs served Apple with their damages expert’s report. Mr.
             7   Kinrich’s report took the position that
             8      —none of which were mentioned in Plaintiffs’ Initial Disclosures or interrogatory
             9   responses—were not just relevant to determining a reasonable royalty, but were the best
           10    comparator for the analysis.
           11          Specifically, Mr. Kinrich indicated that he
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           19                                                  Mr. Kinrich’s view is difficult to
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           24          Mr. Kinrich accordingly
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             3            On October 24, 2022, Apple requested that Plaintiffs withdraw the portion of Mr.
             4   Kinrich’s report that relied on the                  . Ex. 3. Plaintiffs refused, taking the
             5   position that Apple was on notice that the                   would be the lynchpin of their
             6   reasonable royalty theory.       Id.   Plaintiffs observed that (1) their August 2020
             7   supplemental response to Interrogatory No. 17 had noted that Plaintiffs
             8                                                             ” and (2) Plaintiffs had
             9                              Id. Plaintiffs also argued that the
           10    had been discussed during several depositions. Id. Plaintiffs failed to dispute that the
           11                       were omitted from Plaintiffs’ interrogatory responses.
           12             The parties met and conferred on October 28, 2022. Ex. 3. During that meeting,
           13    Plaintiffs’ counsel did not ask Apple any further questions about Apple’s request. Id.
           14    Rather, he agreed that the parties had reached an impasse on the                      issue
           15    and that this motion should be presented to this Court. Id.
           16             The following week, Plaintiffs emailed Apple, asserting that Apple did not
           17    identify (1) “how it believes it was prejudiced” by Mr. Kinrich’s reliance on the
           18                   or (2) any discovery it was unable to take. Ex. 3. In response, on November
           19    1, Apple emailed Plaintiffs’ counsel noting that he had not previously raised either point
           20    and that Plaintiffs have the burden to show harmlessness. Id. Apple also reiterated
           21    details on how it had been prejudiced. Id.
           22             After Apple notified Plaintiffs that it intended to file this motion on Monday,
           23    November 14, Plaintiffs finally responded to Apple’s email on November 11—ten days
           24    after Apple’s last email. Plaintiffs reiterated that they complied with Rule 26(e) because
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             1   their August 2020
             2                  put Apple on notice that Plaintiffs “may rely on one or more such
             3   agreements, including with      .” Ex. 3. Plaintiffs also argued for the first time that any
             4   untimeliness was harmless because Apple could purportedly have sought “discovery
             5   from or regarding      ” “[a]fter receiving the [Kinrich] report,” i.e., nearly two months
             6   after the close of fact discovery. Id.
             7                                     III.   ARGUMENT
             8         A.     Plaintiffs’ Reliance On The                       Violates FRCP 26(e)
             9         FRCP 26(e) provides that a “[a] party who … has responded to an interrogatory
           10    … must supplement or correct its disclosure or response … in a timely manner if the
           11    party learns that in some material respect the disclosure or response is incomplete or
           12    incorrect.” This approach, which requires the responding party to provide express notice
           13    to the other side of a change in circumstances, is meant “to encourage parties to try cases
           14    on the merits, not by surprise, and not by ambush.”            Ollier, 768 F.3d at 862.
           15    Accordingly, a party cannot rely on a damages theory not disclosed in its Initial
           16    Disclosures or interrogatory responses, particularly where the responding party “had all
           17    of the necessary information to disclose this theory … in the course of fact discovery.”
           18    Polaris PowerLED Techs., LLC v. VIZIO, Inc., 2020 WL 4258663, at *3 (C.D. Cal. May
           19    14, 2020).
           20          Plaintiffs’ failure to discuss the                         in their disclosures or
           21    interrogatory responses violates their FRCP 26 obligations. Indeed, the words
           22                         never appear in the disclosures or responses—nor do the Bates
           23    numbers of the                   upon which Mr. Kinrich relies. See generally Exs. 1, 4,
           24    6, 8, 9. Plaintiffs’ silence is particularly notable both because (1) the Special Master
           25    specifically ordered them to provide more information on their damages theories and (2)
           26    the limited additional information that Plaintiffs provided
           27                                                                             as relevant to the
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             1   reasonable royalty analysis. The natural reading of Plaintiffs’ decision to identify only
             2   a handful
             3                                                   as irrelevant. Cf. Silvers v. Sony Pictures
             4   Entm’t, 402 F.3d 881, 885 (9th Cir. 2005) (en banc) (when a statute lists “certain persons,
             5   things, or manners of operation, all omissions should be understood as exclusions”).
             6         Plaintiffs’ primary response appears to be that Apple was on notice that the
             7                would be used because one of Plaintiffs’ early supplemental responses
             8   stated that they “
             9   Ex. 1 at 10; see also supra pp. 7-8. But Plaintiffs have produced
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           21          Moreover, even if Plaintiffs had failed to identify any specific licenses in their
           22    responses, Apple should not have been required to dig through
           23                to find a needle in a haystack—particularly where Apple’s interrogatory
           24    asked Plaintiffs to expressly identify all documents related to their damages theories.
           25    See supra p. 3; see also Asia Vital Components Co., Ltd. v. Asetek Danmark A/S, 377 F.
           26    Supp. 3d 990, 1004 (N.D. Cal. 2019) (rejecting defendant’s argument that the fact that
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             1   it had produced a document with single table that supported its non-infringement theory
             2   satisfied defendant’s Rule 26(e) duty to identify that theory).5
             3            Plaintiffs have also suggested that their                  theory was disclosed
             4   when Apple deposed Joe Kiani, Bilal Muhsin, and Rick Fishel. Ex. 3. But neither Mr.
             5   Kiani nor Mr. Muhsin so much as mentioned                                     during their
             6   depositions. Id. (citing Ex. 7 at 218, Ex. 10 at 29-60). And although Mr. Fishel
             7   referenced                                  in passing, he was unable to answer whether
             8                                                                      . Ex. 11 at 4-5. Given
             9   that Mr. Fishel subsequently testified that he had negotiated                           to
           10    permit other companies to use Plaintiffs’ technology in their products, id.at 6, it is
           11    unclear how Apple should have known to focus in on Mr. Fishel’s stray mention of
           12    In any event, “that some deposition testimony—which did not set forth a damage
           13    computation or analysis of damages—discussed [a licensing agreement] is insufficient
           14    to alert [Apple] that [Plaintiffs] w[ere] seeking damages” based on that agreement—
           15    “especially when [Plaintiffs] did not amend [their] … initial disclosures to assert this
           16    theory.” See E.& J. Gallo Winery v. Strategic Materials, Inc., 2019 WL 3729811, at *6
           17    (E.D. Cal. Aug. 8, 2019).
           18             B.    The Proper Remedy For Plaintiffs’ FRCP 26(e) Violation Is To Strike
           19                   The Portions Of The Kinrich Report That Mention Or Otherwise
           20                   Rely Upon
           21             A party that fails to timely supplement its interrogatory responses is subject to
           22    FRCP’s 37(c)(1)’s “‘automatic’ sanction that prohibits the use of” that information.
           23    Merchant v. Corizon Health, Inc., 993 F.3d 733, 740 (9th Cir. 2021). A court may
           24    “impose an exclusion sanction where a noncompliant party has failed to show that the
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                   Plaintiffs have not identified any reason why the                 could not have been
           27    included in their interrogatory response prior to Mr               ages report (e.g.,
                 third-party confidentiality concerns). No            y reasonably do so—Plaintiffs had
           28    produced all the Agreements at issue by               . Passamaneck Decl. ¶ 8.
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             1   discovery violation was either substantially justified or harmless.” Id.; see also Polaris,
             2   2020 WL 4258663, at *3 (striking damages theory not disclosed in interrogatory
             3   responses); Armenian Assembly of Am., Inc. v. Cafesjian, 746 F. Supp. 2d 55, 73-74
             4   (D.D.C. 2010) (same).
             5            Plaintiffs cannot meet their burden to show that their Rule 26(e) violation is
             6   substantially justified or harmless. Plaintiffs have failed to provide any reason why they
             7   did not identify the                     in their interrogatory responses and/or Initial
             8   Disclosures. Their decision to list licensing agreements or discussions with specific
             9   companies like                                                                        was
           10    misleading and caused Apple to devote resources to investigating companies that were
           11    ultimately wholly irrelevant to Mr. Kinrich’s royalty analysis (e.g.,                   ).
           12             Nor can Plaintiffs show that their strategic decision not to identify the
           13                   as relevant prior to Mr. Kinrich’s report was harmless.          Plaintiffs’
           14    November 11 email effectively concedes that Apple’s first real chance to seek discovery
           15    on the                    was “[a]fter receiving the [Kinrich] report.” Ex. 3 (emphasis
           16    added). Had the                     theory been disclosed during fact discovery, Apple
           17    would have “undoubtedly … pressed for additional documents and asked additional
           18    deposition questions of fact witnesses” to prepare itself and its experts to address the
           19    comparability of the                  . See Jones v. Travelers Cas. Ins. Co. of Am., 304
           20    F.R.D. 677, 681-682 (N.D. Cal. 2015). Among other things, Apple would have sought
           21    discovery from both       and Plaintiffs regarding the agreements and the products, code,
           22    and sales implicated by them in order to explore relevant ways in which the
           23                   could be distinguished on their facts. Apple would also have pressed the
           24    three deposition witnesses Plaintiffs have mentioned—Mr. Kiani, Mr. Muhsin, and Mr.
           25    Fishel—to testify regarding the                   and circumstances surrounding them.
           26             Plaintiffs’ November 11 email represents that if “Apple had identified … any
           27    specific discovery it desired from or about      ” when it received Mr. Kinrich’s report
           28

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             1   on October 6, 2022, “Masimo would have worked to expedite it and Apple would
             2   already have it.” Ex. 3. This is both the first offer Plaintiffs made of additional discovery
             3   in response to Apple’s concerns—raised promptly after receiving Mr. Kinrich’s report—
             4   and the first time Plaintiffs have suggested that they can influence or control third party
             5           response to discovery. But fact discovery closed more than three months ago—
             6   and nearly two months before the receipt of Mr. Kinrich’s report. The Court’s schedule
             7   does not permit the parties to serve additional fact discovery on the parties (or third
             8   parties) at this point. And even if did, with the rebuttal to Mr. Kinrich’s report due in a
             9   matter of days, infra n.6, Plaintiffs have not left Apple with the necessary time (or,
           10    indeed, with any time) to serve requests, receive and process new information about the
           11                      . Nor should Apple have been forced to conduct such fact discovery in
           12    parallel with the drafting of its expert reports.
           13             In any event, even if this motion had been resolved before the close of fact
           14    discovery and before the deadline for expert reports, Apple’s “experts [are] in effect
           15    locked-in to the factual record as of the time fact discovery closed and [can]not test the
           16    factual basis for the newly [added damages theory] by conducting additional discovery.”
           17    Jones, 304 F.R.D. at 681-682. The suggestion that Apple has suffered no prejudice from
           18    Plaintiffs’ FRCP 26(e) violation because Apple could have drafted, served, negotiated,
           19    and received discovery on the                       in the six weeks between when Plaintiffs
           20    served the Kinrich report and when Apple’s expert is required to respond—none of
           21    which is permitted by the Court’s schedule—simply does not pass the straight-face test.
           22    Plaintiffs’ belated offer to produce information in connection with the
           23    shows that they are aware of their failure to provide adequate notice of Apple of this
           24    theory during fact discovery.6
           25
           26    6
                  Plaintiffs blame Apple’s late production of certain documents for Plaintiffs’ FRCP
                 violation. Ex. 3. But the parties agreed to shift the damages report schedule by two
           27    weeks (with Kinrich’s report due on October 6 and Apple’s rebuttal November 17).
                 Even on the original schedule, Plaintiffs would have disclosed their     theory a month
           28    after the fact discovery deadline and Apple would have had six week o file a rebuttal.
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             1                                     IV.    CONCLUSION
             2         Apple respectfully requests that the Court strike Plaintiffs’ previously undisclosed
             3   damages theory based on the                         contained in Kinrich Report Paragraphs
             4   8, 195, 209-224, 236-237, and 242-245, and Exhibits 7.A-B and 15.B. Apple’s proposed
             5   strikes are set forth in highlights in Exhibit 2.
             6
             7   Dated: November 14, 2022                 Respectfully submitted,

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             9                                            BRIAN M. BUROKER
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